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                        UNITED STATES DISTRICT COUR
                      SOUTHERN DISTRICT OF CALIFORN


UN    D STATES OF AMERICA,                  CASE NO. l1CR45
                                                                                                                                  ::~~,'~';:'TY
                                                                   __   """'->:";'~"k"",''''-''   __   '''""',~_'_-   _.,....._,.,,-""-_.. ,"_.­


                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
MELISSA ZAVALA,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment:

     21 USC 952 AND 960 - IMPORTATION OF METHAMPHETAMINE; 18 USC 2 - AIDING

     AND ABETTING

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 11/23/11
                                            WILLIAM McCURINE, JR.
                                            UNITED STATES MAGISTRATE JUDGE
